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   IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT

                   MARSHALL COUNTY, ILLINOIS



THE PEOPLE OF THE                       )
STATE OF ILLINOIS,                      )
                                        )
         Plaintiff,                     )
                                        ) Case Nos. 15-CF-27
   vs.                                  )           17-CF-29
                                        )
BRODIE J. BROZAK,                       )
                                        )
         Defendant.                     )



          NEGOTIATED PLEA OF GUILTY & SENTENCING


   The following is the Report of Proceedings of the

hearing had before HONORABLE JUDGE STEPHEN A. KOURI

commencing on January 17th, 2018.



APPEARANCES:

   MR. JAMES D. OWENS,
       Assistant State's Attorney of Marshall County,
       for the People of the State of Illinois;

   MR. PATRICK J. MURPHY,
       Public Defender of Marshall County,
       for the Defendant.




                              Reported By:

                 Samantha B. Brown, CSR, RPR
                   License No. 084.004758
                   Official Court Reporter
                   Tenth Judicial Circuit
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 1         THE COURT:    This is 15-CF-27, 17-CF-29, People of

 2    the State of Illinois vs. Brodie Brozak.            Mr. Brozak is

 3    here with his attorney, Mr. Murphy.            Mr. Owens is here

 4    for the State.

 5              What's our status?

 6         MR. MURPHY:    Judge, the Parties have reached a

 7    fully negotiated plea wherein the defendant has

 8    executed a written plea of guilty to the petition to

 9    revoke filed in 15-CF-27.

10              In turn for that plea, he would be found

11    guilty on a petition to revoke.         He would be

12    resentenced on the original charges which include five

13    Class One felonies and five Class Two felonies.               He has

14    previously paid all fines, costs and restitution in the

15    amount of $6,395.67.     There would be no additional

16    fines, costs or restitution.

17              He would be sentenced to five years in the

18    Illinois Department of Corrections.            That would be a

19    truth-in-sentencing.     That sentence would run

20    concurrent with 17-CF-29.

21              In that case, the defendant has also executed

22    a written plea of guilty to the Class Two felony of

23    aggravated criminal sexual abuse and the Class A

24    misdemeanor of violating an order of protection.


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 1              He would be -- there would be no fine.                 There

 2    would be $734 in court costs.           There would be $300 in

 3    public defender fees.        There would be no restitution.

 4              The defendant would be sentenced to five years

 5    in the Illinois Department of Corrections,

 6    truth-in-sentencing.       That sentence would run

 7    concurrent with 15-CF-27.

 8         THE COURT:    And when you say truth-in-sentencing,

 9    is it 85 percent?

10         MR. MURPHY:    85 percent, your Honor.            Yes.

11         THE COURT:    Okay.     Anything to add, Mr. Owens?

12         MR. OWENS:    No.     Thank you.      That's my

13    understanding as presented by Mr. Murphy, your Honor.

14         THE COURT:    Mr. Brozak, am I pronouncing that

15    right?

16         THE DEFENDANT:      Yes, your Honor.

17         THE COURT:    Is that your agreement?

18         THE DEFENDANT:      Yes, your Honor.

19         THE COURT:    How old are you?

20         THE DEFENDANT:      23.

21         THE COURT:    And your date of birth?

22         THE DEFENDANT:      April 13th, 1994.

23         THE COURT:    Are you an American citizen?

24         THE DEFENDANT:      Yes.


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 1         THE COURT:    Can you read and write the English

 2    language?

 3         THE DEFENDANT:    Yes.

 4         THE COURT:    How many years of education do you

 5    have?

 6         THE DEFENDANT:    I have completed high school, and I

 7    have two trades.

 8         THE COURT:    Are you on any drugs or alcohol as you

 9    sit here today that affect your ability to understand

10    what's happening?

11         THE DEFENDANT:    Well, I took my prescription Xanax

12    last night, but I do feel I understand what's going on

13    today.

14         THE COURT:    Have you talked this over with your

15    attorney?

16         THE DEFENDANT:    Yes, your Honor.

17         THE COURT:    Are you satisfied with his services?

18         THE DEFENDANT:    Yes, your Honor.

19         THE COURT:    I want to go over with you in some

20    detail what's pending, possible penalties, what your

21    rights are.

22                In 15-CF-27, the State has filed a petition to

23    revoke your probation --       is that what it was?            It was

24    a PTR?


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 1         MR. MURPHY:    On the 15-CF-27, yes, your Honor.

 2         THE COURT:    Oh, there it is.      Filed July 18th,

 3    2017, the State alleges that you violated the terms of

 4    your probation in that you committed a subsequent

 5    offense charged in 17-CF-29.        Is this what you're

 6    admitting?

 7         THE DEFENDANT:    Yes, your Honor.

 8         THE COURT:    If we had a hearing on the petition to

 9    revoke your probation and the State were able to prove

10    the allegations, the State would have a right to ask

11    the Court to resentence you under the original charge,

12    which was --

13         MR. MURPHY:    Judge, I actually misspoke.          The

14    original charge included Class One and Class Two

15    felonies.    The Class Ones were dismissed, and he

16    pleaded guilty to five counts of the Class Two

17    felonies, aggravated criminal sexual abuse, greater

18    than five years of age older than victim.

19         THE COURT:    Which are Class Two felonies.          So, with

20    the sentence ranges, is he extendible under that?

21         MR. MURPHY:    He would not be extendible on

22    15-CF-27.    He would be extendible on 17-CF-29.

23         THE COURT:    So, on the 15-CF-27 case, if you were

24    found in violation of your probation, the State would


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 1    have the right to ask the Court to resentence you under

 2    the original charges that you pled guilty to which

 3    carry with it a sentence range, each count, of three to

 4    seven years in the state penitentiary, up to $25,000 of

 5    fines, up to four years probation, in which you could

 6    receive another round of probation.            Any DOC sentence

 7    carries with it an additional period of two years

 8    mandatory supervised release.

 9                Do you understand the possible penalties that

10    you're facing in 15-CF-27?

11         THE DEFENDANT:    Yes, your Honor.

12         THE COURT:    In 17-CF-29, you're charged with two

13    counts.     Count One is a Class Two Felony, aggravated

14    criminal sexual abuse.

15                It is alleged that on or about June 3rd, 2017,

16    you committed an act of sexual conduct with the victim,

17    CBS, who was at least 13 years of age but under 17

18    years of age, in that you placed your penis in the anus

19    of CBS, and that you were at least five years older

20    than CBS.

21                Is this what you're admitting?

22         THE DEFENDANT:    Yes, your Honor.

23         THE COURT:    If you were convicted of that offense,

24    a Class Two felony, you could receive a sentencing


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 1    range of three to 14 years in the state penitentiary,

 2    up to $25,000 of fines, up to four years probation.

 3    Any Department of Corrections sentence carries with it

 4    an additional period of two years mandatory supervised

 5    release.

 6               Do you understand the possible penalties under

 7    Count One?

 8         THE DEFENDANT:    Yes, your Honor.

 9         THE COURT:   Count Two is a Class A misdemeanor,

10    violation of an order of protection.

11               It is alleged that on or about June 3rd, 2017,

12    you, having been served with a notice of the contents

13    of order of protection number 15-OP-33 issued on August

14    3rd, 2015 by the Circuit Court of Marshall County, did

15    knowingly commit an act which was prohibited by the

16    order of protection in that you had contact with the

17    protected party, CBS.

18               Is that what you're admitting?

19         THE DEFENDANT:    Yes, your Honor.

20         THE COURT:   If you were convicted of that offense,

21    it is a Class A misdemeanor.        You could receive a

22    sentence range of up to one year in the county jail, up

23    to two years probation, up to $2,500 in fines.

24               Do you understand the possible penalties?


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 1         THE DEFENDANT:    Yes, your Honor.

 2         THE COURT:    You have certain rights.         Even as you

 3    sit here today, you have the right -- and I'm going to

 4    give you your rights under 17-CF-29.

 5              You have the right to stand on your plea of

 6    not guilty, in which event you would have the right to

 7    have a trial.     That trial can be in front of a judge or

 8    in front of a jury.     You select what type of trial to

 9    have, not the State.

10              The State has the burden of proving you

11    guilty.   It must prove the allegations beyond a

12    reasonable doubt.

13              You have the right to have an attorney with

14    you at all times.     As long as you cannot afford one,

15    one would continue to be provided to you.

16              You have the right to cross-examine any

17    witness called against you.       You have the right to call

18    or subpoena your own witnesses.         You have the right to

19    testify, in other words, tell your side of the story.

20    You're not required to testify, and if you choose not

21    to do so, that will not be used against you in any way.

22              Your rights in 15-CF-27 are identical with the

23    exception of two matters:

24              One, the State does have the burden of proof,


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 1    but that burden of proof is by a preponderance of the

 2    evidence.    In other words, they have to prove the

 3    allegations in the petition to revoke by a

 4    preponderance of the evidence.         And secondly, the

 5    hearing is not in front of a jury.             It is in front of a

 6    judge.

 7                Do you understand your rights in both cases?

 8         THE DEFENDANT:    Yes, your Honor.

 9         THE COURT:   All right.     Can the State provide a

10    factual basis?

11         MR. OWENS:   Your Honor, the People would call

12    Officer Danhof of the Henry Police Department who would

13    testify that during the period of June 3rd of 2017 he

14    conducted an investigation regarding allegations of

15    aggravated criminal sexual abuse and violation of an

16    order of protection involving the defendant, whom he

17    would identify as Brodie J. Brozak.

18                Officer Danhof would testify that the date of

19    birth of Brodie J. Brozak was April 13th of 1994, and

20    at the time of these offenses, June 3rd of 2017, the

21    defendant was 22 years of age.         Officer Danhof would

22    testify that the defendant lived at 514 School Street

23    in Henry, Marshall County, Illinois.

24                The People would call the minor whose initials


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 1     are CBS.   CBS would testify that during the period of

 2     June 3rd, 2017 she was between the age of 13 and 17.

 3     CBS would identify the defendant as Brodie J. Brozak,

 4     an individual that she has known for years, literally.

 5                CBS would testify that during that period she

 6     went to the residential property of the defendant, and

 7     in an outbuilding in the residence of the defendant

 8     engaged in multiple sexual acts including acts of the

 9     defendant inserting his penis into her anus.

10                The People would ask the Court to take

11     judicial notice of Marshall County Case Number

12     2015-OP-33, an order of protection that was in effect

13     during the period of June 3rd, 2017, and note that the

14     petitioner in that order of protection includes the

15     protected person of CBS, and that the respondent in

16     that case is the defendant, Brodie J. Brozak.

17         THE COURT:    Mr. Murphy, is that consistent with

18     your discovery?

19         MR. MURPHY:    Judge, the only correction being the

20     minor is a male instead of female.            Outside of that, it

21     is consistent with discovery.

22         THE COURT:    The Court -- do you agree with that

23     correction, Mr. Owens?

24         MR. OWENS:    Yes, your Honor.


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 1         THE COURT:    The Court finds that there is a factual

 2     basis.    Mr. Brozak, did anybody make any threats or

 3     promises to you to force you into pleading guilty?

 4         THE DEFENDANT:    No, your Honor.

 5         THE COURT:    Is it still your desire to plead

 6     guilty?

 7         THE DEFENDANT:    Yes, your Honor.

 8         THE COURT:    I find that the plea is given

 9     voluntarily and knowingly.       The plea is accepted and

10     entered of record.

11                Mr. Murphy, do you waive presenting evidence

12     in mitigation and a presentence investigation?

13         MR. MURPHY:    We do, your Honor.

14         THE COURT:    Defendant's criminal history other than

15     these two matters?

16         MR. OWENS:    Judge, it is primarily the two cases

17     before the Court this morning, 15-CF-27 as well as the

18     matter Mr. Brozak is being sentenced to this morning.

19         THE COURT:    The Court accepts and approves the plea

20     agreement on the plea of guilty in 15-CF-27.             The

21     defendant is found in violation of his probation.

22     Probation is revoked.

23                He will be resentenced to five years in the

24     Illinois Department of Corrections.           It will be served


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 1     at a minimum of 85 percent.        Two years of mandatory

 2     supervised release will also be imposed.

 3               On the plea of guilty in 17-CF-29, the

 4     defendant stands convicted of the Class Two felony,

 5     aggravated criminal sexual abuse, and the Class A

 6     misdemeanor, violation of order of protection.

 7               He will be sentenced to five years in the

 8     Illinois Department of Corrections.            85 percent minimum

 9     will apply.   Two years of mandatory supervised release.

10     Fines, fees and costs as outlined in the court order

11     will also be assessed.

12               Those two sentences and two cases, five years

13     DOC, two years mandatory supervised release, will run

14     concurrently; is that correct?

15         MR. MURPHY:    Correct, your Honor.

16         THE COURT:    Is that your agreement?

17         THE DEFENDANT:    Yes.

18         THE COURT:    Besides the fact that you voluntarily

19     pled guilty, you have the right to appeal.             You have to

20     exercise that right within 30 days.            You do so by

21     filing a motion to withdraw the guilty plea, listing

22     all of the reasons why the Court should allow you to

23     withdraw the plea.

24               If that motion is allowed, the cases will be


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 1     reinstated and set for a hearing or trial.            If the case

 2     -- if the motion is denied, you have 30 days from that

 3     date to file a notice of appeal.

 4               If you need any help with any of that and

 5     cannot afford an attorney, one will be provided to you,

 6     as well as a transcript of all proceedings.

 7               Do you have any questions about anything

 8     that's transpired here?

 9         THE DEFENDANT:    No, your Honor.

10         THE COURT:     Okay.

11         MR. OWENS:     Judge, may I address the Court, please?

12         THE COURT:     Yes.

13         MR. OWENS:     Judge, the defendant has previously

14     provided a DNA sample in 15-CF-27.

15         THE COURT:     All right.    Very good.      And you're

16     going to submit some final orders?

17         MR.   OWENS:    Yes, your Honor.

18         THE COURT:     Okay.

19                         (End of proceedings.)

20

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     IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT

                   MARSHALL COUNTY, ILLINOIS



                    CERTIFICATE OF REPORTER



       I, Samantha Brown, CSR, RPR, an Official Court

  Reporter for the Circuit Court of Marshall County,

  Tenth Judicial Circuit of Illinois, reported in machine

  shorthand the proceedings had on the hearing in the

  above-entitled cause and transcribed the Report of

  Proceedings by Computer Aided Transcription, which I

  hereby certify to be a true and accurate transcript of

  the proceedings had before Honorable Circuit Judge

  Stephen A. Kouri.




                          Official Court Reporter




  Dated this 8th day
  of March, 2022


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